     Case: 1:06-cr-00631 Document #: 44 Filed: 01/25/07 Page 1 of 8 PageID #:115



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 UNITED STATES OF AMERICA,                             )
                                                       )
                                  Plaintiff,           )
          v.                                           )      Case No. 06 C 0631
                                                       )
 LAPRIEST GARY and ADONIS HOUSE,                       )      Judge Virginia M. Kendall
                                                       )
                                 Defendants.           )


                           MEMORANDUM OPINION AND ORDER

        Defendant LaPriest Gary (“Gary”), along with co-defendant Adonis House (“House”)

(collectively “Defendants”), are charged in a five-count indictment1 with various violations of federal

narcotics law. Gary is charged with conspiring to distribute in excess of 50 grams of cocaine base

in the form of crack cocaine (Count I); distributing various amounts of cocaine base in the form of

crack cocaine (Counts II and III); and possessing with intent to distribute cocaine base in the form

of crack cocaine and heroin (Counts IV and V, respectively). House is charged in Counts II and III.

The conspiracy charge and distribution charges relate to events in April and May 2005, while the

possession charges relate to events on May 9, 2006. Gary now moves this Court to sever Counts IV

and V from Counts I, II and III. Both Defendants ask this Court to compel the Government to

disclose information regarding any informants, cooperating witnesses or confidential sources used

by the Government in the investigation of this case. Last, Gary makes several other standard motions

for the disclosure of information prior to trial.

        Because joinder of the charges in the indictment is proper under Rule 8 and Gary has not

demonstrated that he will be prejudiced by the joinder, this Court will not sever Counts IV and V.

Regarding the disclosure of the Government’s cooperating informant, Defendants have not shown
     Case: 1:06-cr-00631 Document #: 44 Filed: 01/25/07 Page 2 of 8 PageID #:116



that their need for disclosure of his identity outweighs the public interest in protecting the free flow

of information to law enforcement. Because, however, the undercover agent and confidential

witness were both participants in, and witnesses to, the conduct giving rise to the charges against

Defendants, the Government is required to disclose their identities.

I.     Motion for Severance

       Gary requests that Counts IV and V be severed from Counts I, II and III. Before this Court

may determine whether to sever the Counts, it first must be sure that the Counts were properly

joined. United States v. Donaldson, 978 F.2d 381, 391 (7th Cir. 1992).

       A.      Joinder

       Charges may be joined under Federal Rule of Criminal Procedure 8(a) when they are: “(1)

of the same or similar character; (2) based on the same act or transaction; or (3) based on two or

more acts or transactions connected together or constituting parts of a common scheme or plan.”

U.S. v. Koen, 982 F.2d 1101, 1111 (7th Cir. 1992). Joinder under this rule is construed broadly

because of the efficiency in trying a defendant on related counts in the same trial. United States v.

Archer, 843 F.2d 1019, 1021 (7th Cir. 1988). Despite the policy favoring joinder, benefits of joint

trials “must be balanced against the defendant’s right to a trial free of prejudice.” United States v.

L'Allier, 838 F.2d 234, 240 (7th Cir.1988); see also United States v. Coleman, 22 F.3d 126, 132 (7th

Cir. 1994) (“defendant embarrassment or confoundment in presenting separate defenses

simultaneously, jury cumulation of evidence, and jury inference of criminal disposition are

[joinder’s] main vices”).

       The Government argues that the charges in the indictment are properly joined because they

are all of the “same or similar character” – drug charges. Charges are of the “same or similar

character” when “the counts refer to the same type of offenses occurring over a relatively short

                                                   2
     Case: 1:06-cr-00631 Document #: 44 Filed: 01/25/07 Page 3 of 8 PageID #:117



period of time, and the evidence as to each count overlaps.” Koen, 982 F.2d at 1111. Defendant

points out that while the first three offenses are related, the May 9, 2006 possession charges occurred

almost one year later and will rely upon separate evidence. But the “‘short-period-of-time/evidence-

overlap formula’ is not the exclusive measure of whether ‘same of similar’ offenses are properly

joined.” U.S. v. Turner, 93 F.3d 276, 283 (7th Cir. 1996), citing Coleman, 22 F.3d at 131-34. As

the plain language of Rule 8(a) instructs, a court also may compare the charged offenses for

“categorical, not evidentiary, similarities.” Coleman, 22 F.3d at 133. Thus, “if offenses are of like

class, although not connected temporally or evidentially, the requisites of proper joinder should be

satisfied so far as Rule 8(a) is concerned.” Id.

       In determining whether joinder is proper, the court focuses on the face of the indictment. See

United States v. Alexander, 135 F.3d 470, 475 (7th Cir.1998); United States v. Quintanilla, 2 F.3d

1469, 1482 (7th Cir. 1993) (“The test of misjoinder is what the indictment charges, not what the

proof at trial shows”). The five counts for which Gary is charged in the indictment are all the same

category of offense, each being brought under 28 U.S.C. § 841(a)(1). Thus, it is immaterial for

purposes of joinder under Rule 8(a) that the possession charges in Counts IV and V involve discrete

events – separate in time and evidence – from charges in Counts I, II and III. See Turner, 93 F.3d

at 283-84 (affirming joinder of drug charge where proof involved discrete historical facts that were

alleged to have occurred more than fourteen months after conspiracy alleged in separate count);

Coleman, 22 F.3d at 131-132 (affirming joinder of four gun charges where the incidents in question

were four separate encounters with the police under four different circumstances and involving four

separate sets of witnesses and encounters). Because each charge shares categorical similarities,

Counts IV and V are properly joined with Counts I, II and III in the indictment.



                                                   3
     Case: 1:06-cr-00631 Document #: 44 Filed: 01/25/07 Page 4 of 8 PageID #:118



        B.      Severance

        Even if offenses are properly joined, Rule 14 gives a court discretion to sever them if their

joinder would sufficiently prejudice the defendant. Fed. R.Crim. P. 14(a)1; United States v. Shue,

766 F.2d 1122, 1134 (7th Cir. 1985). In this regard, the Court recognizes that the risk of unfairness

is heightened when two or more offenses are joined because of their “same or similar character.”

Coleman, 22 F.3d at 134. Gary is particularly concerned that while the Government’s evidence

pertaining to conspiracy in Count I and distribution in Counts II and III is “at best thin,” he could be

found guilty on those charges if the jury improperly relies on the more compelling evidence offered

as to Counts IV and V. Generally, the Seventh Circuit has rejected this type of “evidentiary

spillover” argument, and particularly with regard to the facts and charges alleged in this case. See,

e.g., United States v. Abdelhaq, 246 F.3d 990, 992 (7th Cir. 2001) (“[A]s a basis for requiring

severance, ‘evidentiary spillover’ has been rejected”).

        The evidence against Gary on each count in the indictment is relatively simple and

straightforward. It is presumed that a jury can separate what evidence is relevant to each count

where the testimony and evidence will not be extensive or complex. See U.S. v. Lanas, 324 F.3d

894, 900 (7th Cir. 2003). This presumption applies even when the charged offenses are similar.

See Turner, 93 F.3d at 284 (less than two day trial on conspiracy and substantive drug charges);

Coleman, 22 F.3d at 135 (four counts of possession of a firearm on which “the evidence as to each

[count] was anything but excessive or confusing”). The possibility of “prejudicial spillover” from



        1
          Rule 14, entitled “Relief from Prejudicial Joinder,” provides in relevant part:
        If it appears that a defendant or the government is prejudiced by a joinder of offenses or of
        defendants in an indictment or information or by such joinder for trial together, the court may
        order an election or separate trials of counts, grant a severance of defendants or provide
        whatever other relief justice requires.

                                                   4
      Case: 1:06-cr-00631 Document #: 44 Filed: 01/25/07 Page 5 of 8 PageID #:119



Counts IV and V into Counts I, II and III thus is unlikely. Any possible prejudice created by trying

the counts together will be removed with an appropriate limiting instruction to the jury. See United

States v. Stillo, 57 F.3d 553, 557 (7th Cir. 1995) (holding that a criminal defendant “must rebut the

dual presumption that a jury will (1) capably sort through the evidence and (2) follow limiting

instructions from the court”) (quotation omitted); United States v. Berardi, 675 F.2d 894, 901 (7th

Cir. 1982) (holding that jury instructions are “an adequate safeguard against the risk of prejudice in

the form of jury confusion, evidentiary spillover and cumulation of evidence”). Finally, the potential

prejudice will be removed if the evidence relating to Counts IV and V is admissible under Rule

404(b) to show Gary’s knowledge of the conspiracy in Count I or his intent to commit the offenses

charged in Counts II and III. See United States v. Rollins, 301 F.3d 511, 519 (7th Cir. 2002)

(“prejudice requiring severance is not shown if evidence on the severed counts would be admissible

in the trial of the remaining counts”); United States v. Cooper, 942 F.2d 1200, 1205 (7th Cir. 1991)

(“Evidence of a prior drug transaction is admissible under [FRE] 404(b) to show a defendant’s intent

to take part in a conspiracy, his opportunity to acquire and distribute cocaine, and his knowledge of

the distribution network”); United States v. L'Allier, 838 F.2d 234, 240 (7th Cir. 1988) (Severance

“does not require that every piece of evidence of one offense be admissible in a separate trial on the

other offense”). Accordingly, there is no potential prejudice to Gary that warrants severance of

Counts IV and V.

II.     Motion for Disclosure of Confidential Informant Information

        Gary and House seek to compel the Government to disclose the identity of any informants,

cooperating witnesses or confidential sources used by the Government in the investigation of this

case. In particular, Defendants requests the name, aliases, address, contact number and/or attorney’s

name and telephone number for FBI Undercover Employee 1 (“UCE1”), Confidential Witness 2

                                                  5
     Case: 1:06-cr-00631 Document #: 44 Filed: 01/25/07 Page 6 of 8 PageID #:120



(“CW2”) and Cooperating Informant (“CI”). CI provided certain background information to the

Government, while UCE1 and CW2 allegedly participated in controlled buys involving Defendants.

CW2 set up the narcotics transactions and acted as an intermediary between Defendants and UCE1,

who posed as a drug dealer from Wisconsin seeking to purchase crack cocaine in Chicago.

        “The government has a limited privilege to withhold the identity of a confidential informant

from a criminal defendant.” United States v. Jefferson, 252 F.3d 937, 940 (7th Cir. 2001), citing

Roviaro v. United States, 353 U.S. 53, 60 (1957). This privilege is designed to encourage

individuals to come forward with information by preserving their anonymity. Roviaro, 353 U.S. at

59. At the same time, the interest in maintaining an informant’s anonymity must be balanced

“against the [defendant’s] right to prepare his defense.” Id. at 62. Under this balancing test, the

privilege will not apply “[w]here the disclosure of an informant’s identity, or of the contents of his

communication, is relevant and helpful to the defense of an accused.” Id. at 60-61. The burden is

on the defendant to establish that disclosure is “relevant and helpful to [his] defense” or “essential

to fair determination of a cause.” Jefferson, 252 F.3d at 941; see United States v. Bender, 5 F.3d

267, 270 (7th Cir. 1993) (where public interest in protecting the free flow of information is strong,

defendant must demonstrate a “genuine need” for disclosure). If a defendant meets this burden, the

Government’s obligation to disclose the identity of the informer does not hinge on whether the

witness will testify at trial. Id. at 55-56; see Banks v. Dretke, 540 U.S. 668, 697 (2004) (“The issue

of evidentiary law in Roviaro was whether (or when) the Government is obliged to reveal the identity

of an undercover informer the Government does not call as a trial witness”). Indeed, if an informant

possesses information helpful to the defense, it would be less likely that the Government would call

the witness at trial.



                                                  6
     Case: 1:06-cr-00631 Document #: 44 Filed: 01/25/07 Page 7 of 8 PageID #:121



       There is no indication that the CI possesses information regarding the criminal conduct for

which Defendants are being charged. Instead, the CI provided law enforcement with only “historical

information” regarding the activities of Defendants. “When the informant is a mere ‘tipster,’ rather

than a participant or an eye witness to the event in question, disclosure will not be required.” United

States v. Andrus, 775 F.2d 825, 842 (7th Cir. 1985); see United States v. Lewis, 671 F.2d 1025, 1027

(7th Cir. 1982) (“Where the informant is a mere ‘tipster,’ disclosure of his identity will rarely be

appropriate under the balancing test of Roviaro”). According to the Government, the CI did not

participate in or witness any of the events alleged in the indictment. As such, he could not be helpful

to the defense by “amplify[ing] or contradict[ing] the testimony of government witnesses.” Roviaro,

353 U.S. at 64. No other need for the disclosure of the CI’s identity being shown by Defendants, the

Government may withhold his identity.

       UCE1 and CW2, in contrast, participated in the controlled buys with Defendants. In Roviaro,

the Court held that the public interest in withholding an informant’s identity must give way to the

interests of the defendant when the informant “had taken a material part in bringing about the

possession of certain drugs by the accused, had been present with the accused at the occurrence of

the alleged crime and might be a material witness as to whether the accused knowingly transported

the drugs as charged.” Id. at 55. UCE1 and CW2 occupy a position similar to the informant in

Roviaro. The Government has offered no law enforcement or safety reason why their identities

should not be disclosed. Accordingly, the Court orders the Government to disclose the identity and

any other material information regarding UCE1 and CW2 within thirty days of this order or move

the Court under seal to prevent the disclosure of this information by providing the Court with

appropriate materials supporting such non-disclosure within the same thirty day period.



                                                  7
       Case: 1:06-cr-00631 Document #: 44 Filed: 01/25/07 Page 8 of 8 PageID #:122



III.     Other Motions

         Defendant’s Motion for Notice of Intention to use Expert Witness Testimony is granted; the

Government shall disclose the identity of any experts thirty days prior to trial and shall identify any

items of evidence that will be examined by experts at that time. Defendant’s Motion for Immediate

Disclosure of Favorable Evidence is denied as moot on the basis of the Government’s representation

that it understands its obligations under Brady v. Maryland to produce exculpatory evidence.

Likewise, Defendant’s Motion for Disclosure of Evidence which may lead to the Impeachment of

Any Government Witness is denied as moot on the basis of the Government’s representation that

it understands its obligations under Giglio v. United States to turn over information that impeaches

its witnesses. Defendant's Motion to Require Notice of Intention to Use Other Crimes, Wrongs or

Acts Evidence is granted in part and denied in part. The Government shall give notice of its

intention to use evidence pursuant to Federal Rule of Evidence 404(b) two weeks prior to trial and

the defense shall respond to that motion one week prior to trial. There being no objection,

Defendant's Motion for Issuance of Subpoenas and Early Return Thereof is granted. Defendant’s

Motion for Hearing or Proffer on Admissibility of Co-Conspirator’s Statements is granted; the

Government’s Santiago proffer shall be due 30 days prior to trial.

So ordered.



                                               ________________________________________
                                               Virginia M. Kendall, United States District Judge
                                               Northern District of Illinois

Date: January 25, 2007




                                                  8
